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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA


   Restoration Action, Inc.
   l 90 l Butterfield Road, Suite 120
   Downers Grove, Illinois 60515                             Civil Action No. l:21-cv-00400

                          Plaintiff,

          V.

   Center for American Restoration, Inc.
   American Restoration Action, Inc.
   Russell Vought
   912 South Quincy Street
   Arlington, Virginia 22204

                          Defendants.


                 NOTICE OF VO LUNT ARY DISMISSAL WITH PREJUDICE

         Plaintiff, Restoration Action, Inc., (.. Plaintiff' or "Restoration Action"), by and through its

  undersigned counsel, and pursuant to Rule 41 (a) of the Federal Rules of Civil Procedure, hereby

  gives Notice of Voluntary Dismissal With Prejudice in this matter. Plaintiff respectfully notifies

  the Court the parties have finalized and executed a Settlement Agreement. All parties shall bear

  their own attorney's fees and costs.


         Dated: April 22, 2021                           Respectfully submitted,

                                                         RESTORATION ACTION, INC.
  So ordered
                                                        Isl Thomas W. Brooke
                                                        Thomas W. Brooke
                                                        Virginia Bar No. 32388
                                                        HOLLAND & KNIGHT LLP
                          April 22, 2021                800 17th Street, NW
                                                        Suite 1100
                                                        Washington, D.C. 20006
                                                        Telephone: (202) 663-7271
